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Case #: 11-2023-CA-000111-0001-XXOffense Date:

Party Name/Company: Clark Pear Llc,File Date: 01/23/2023

Party Type: PlaintiffStatus: Disposed

Name Suffix:Case Type: Contract and Indebtedness

DOB:Court Type: CA

Citation #:

PartiesDocketsChargesSentencesFeesCourt Events

Judge: Brodie, Lauren L

Party Name/Company Party Type               Sex     Race    Date of Birth    AKA    Deceased   Sheriffs
#

Mvp Realty Associates LlcParty Attorneys            Defendant

Carlson, DerekParty Attorneys Defendant                                01/01/1978

Pear, Clark JohnParty Attorneys Plaintiff M         W       01/01/1980

Clark Pear LlcParty Attorneys   Plaintiff

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        1       01/23/2023      0           Contract and Indebtedness

        2       01/23/2023      0           Civil Cover Sheet with Demand for Jury Trial

        3       01/23/2023      0           Complaint with Demand for Jury Trial

        4       01/23/2023      0           Standing Order - Circuit

        5       01/23/2023      0           Paid $400.00 on receipt 1335498, Fully Paid

        6       01/31/2023      0           Summons issued

        8       01/31/2023      0           Summons issued

        7       02/01/2023      0           Paid $10.00 on receipt 1337913, Fully Paid

        9       02/01/2023      0           Paid $10.00 on receipt 1337916, Fully Paid

        10      02/10/2023     0       Notice of Appearance and Designation of Email Address by Nabil
Joseph, Danielle Crowley for Mvp Realty Associates Llc
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        11      02/10/2023      0       Notice of Appearance and Designation of Email Address by Nabil
Joseph, Danielle Crowley for Derek Carlson

        12      02/15/2023      0       Motion to Strike -

        13     02/16/2023       0       Return of Service of Summons on Mvp Realty Associates Llc,,
served 02/09/2023

       14       02/16/2023      0       Return of Service of Summons on Carlson, Derek, served
02/10/2023

        15      02/16/2023      0       Motion to Strike -

        16      02/20/2023      0       Joinder In Motions To Strike, Quash Service

        17      02/21/2023      0       Notice of Hearing for Motion To Strike At 10:30 Am

18      02/21/2023       0       Set on Hearing docket 3/13/2023 beginning at 10:30 AM Brodie, Lauren
L (see notice of hearing for actual hearing time)

        19      02/27/2023      0       Order of Referral to Magistrate

        20      02/27/2023      0       Response to Motion

        21      02/28/2023      0       Objection to Magistrate

        22      03/02/2023      0       Response to Motion

        23      03/02/2023      0       Exhibits

24      03/13/2023      0       Proceeding: Hearing

25      03/13/2023      0       Presiding Judge: Brodie, Lauren L

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        26      03/13/2023      0       Attorney Present Neusom, Thomas Grant (Plaintiff)

27      03/13/2023      0       Attorney Present Crowley, Danielle (Defendant)

28      03/13/2023      0       Motion to Strike/Quash/Dismiss - Granted

29      03/13/2023      0       Motion to Amend - Granted

30      03/13/2023      0       Amended Complaint to be submitted within 20 days

        31      03/21/2023      0       Order to Dismiss with Leave to Amend
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        32      04/02/2023       0      Complaint, Initial, Amended Claim

        33      04/18/2023       0      Motion to Dismiss Count(s) -

        34      04/18/2023       0      Motion to Dismiss Count(s) -

        35      04/18/2023       0      Motion to Dismiss by Mvp Realty Associates Llc

        36      04/28/2023       0      Notice of Hearing for Amended Motion To Dismiss @ 2:30Pm

37      05/01/2023       0        Set on Hearing docket 5/17/2023 beginning at 1:30 PM Brodie, Lauren L
(see notice of hearing for actual hearing time)

        38      05/03/2023       0      Notice of Hearing - Amended for Motion To Dismiss @2:30Pm

        39      05/07/2023       0      Response to Motion

        40      05/07/2023       0      Response to Motion

        41      05/07/2023       0      Response to Motion

        42      05/08/2023       0      Notice of Taking Deposition

        43      05/08/2023       0      Order of Referral to Magistrate

44     05/09/2023     0       Cancelled Hearing on 5/17/2023 1:30:00 PM due to Per JACS,
Rescheduled with Magistrate Barger

45     05/09/2023      0         Per Judge's Calendar Motion To Dismiss Amended Complaint / Motion
To Dismiss Derek Carlson In His Individual Capacity (To Be Heard At 2:30Pm)

46      05/09/2023       0        Set on Hearing docket 5/17/2023 beginning at 1:30 PM Barger, Pamela
(see notice of hearing for actual hearing time)

        47      05/09/2023       0      Order Setting Hearing With Magistrate At 2:30 Pm

        48      05/10/2023       0      Motion for Sanctions -

        49      05/15/2023       0      Objection to Magistrate

50      05/17/2023       0       Cancelled Hearing on 5/17/2023 1:30:00 PM due to Per JACS, Obj. to
Mag. Filed 5/15/23 - sll

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       51     05/17/2023        0       Per Judge's Calendar Motion To Dismiss Amended Complaint /
Motion To Dismiss Carlson In His Individual Capacity (To Be Heard At 1:50Pm)
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52      05/17/2023       0        Set on Hearing docket 5/17/2023 beginning at 1:30 PM Brodie, Lauren L
(see notice of hearing for actual hearing time)

53     05/17/2023      0         Proceeding: Hearing

54     05/17/2023      0         Presiding Judge: Brodie, Lauren L

55     05/17/2023      0         Present: Clark John Pear (Plaintiff)

56     05/17/2023      0         Present: Derek Carlson (Defendant)

57     05/17/2023      0         Attorney Present Neusom, Thomas Grant (Plaintiff)

58     05/17/2023      0         Attorney Present Crowley, Danielle (Defendant)

59     05/17/2023      0         Attorney Present Joseph, Nabil (Defendant)

60     05/17/2023      0         Motion to Dismiss Amended Complaint - Granted

61     05/17/2023      0         Motion to Dismiss Carlson in his Individual Capacity - Granted

       62      05/17/2023        0       Notice of Hearing for Motion To Dismiss @1:50Pm

       63      05/17/2023        0       Magistrate Status Report

       64      05/19/2023        0       Motion for Rehearing/Reconsideration -

       65      05/23/2023        0       Motion for Protective Order -

       66      05/23/2023        0       Notice of Status of Case

       67      05/23/2023        0       Order to Dismiss with Leave to Amend

       68      05/23/2023        0       Order Denying Rehearing/Reconsideration

       69      05/26/2023        0       Complaint, Initial, Amended Claim

       70      06/07/2023        0       Motion to Dismiss by Mvp Realty Associates Llc

       71      06/07/2023        0       Motion to Dismiss by Derek Carlson

       72      06/09/2023        0       Objection to Magistrate

       74      06/10/2023        0       Motion to Transfer - by Clark John Pear

       73      06/11/2023        0       Response to Motion to Dismiss

       75      06/14/2023        0       Response to Motion

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       76      06/14/2023        0     Motion for Change of Venue -

       77      06/16/2023        0     Response to Motion

       78      06/16/2023        0     Response to Motion

       79      06/28/2023        0     Notice of Removal of Case to the District Court

       80      06/29/2023        0     Order Setting Hearing At 9:30 Am

81      06/30/2023       0        Set on Hearing docket 7/27/2023 beginning at 9:30 AM Brodie, Lauren L
(see notice of hearing for actual hearing time)

       82      07/01/2023        0     Notice of Removal of Case to the District Court

       83      07/06/2023        0     Notice of Removal of Case to the District Court

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